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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CAUSE OF ACTION INSTITUTE,

               Plaintiff,

                       v.                               Civil Action No. 19-0778 (CJN)

UNITED STATES DEPARTMENT OF
COMMERCE,

               Defendant.


                  DEFENDANT’S MOTION FOR EXTENSION OF TIME

       Defendant, United States Department of Commerce (“Defendant”), pursuant to Rule

6(b)(1) of the Federal Rules of Civil Procedure, respectfully requests a three-week extension of its

deadline to file its summary judgment motion and a corresponding extension of the remainder of

the briefing schedule. Good cause exists to grant this motion.

       Agency counsel assigned to this matter has advised the undersigned Assistant United States

Attorney that he has had to be absent from the office to attend to a family matter. Consequently,

additional time is needed for the agency to prepare its declaration and summary judgment motion

papers. Defendant respectfully requests that the briefing schedule be amended as follows:

                                        Current Deadline              Proposed New Deadline

 Defendant’s        Summary                July 22, 2019                  August 12, 2019
 Judgment Motion
 Plaintiff’s Opposition and               August 5, 2019                  August 26, 2019
 Cross-Motion
 Defendant’s Opposition and              August 19, 2019                 September 9, 2019
 Reply
 Plaintiff’s Reply                       August 26, 2019                September 16, 2019
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       Defendant requests this extension in good faith and not for the purpose of delay. This is

Defendant’s first request for an extension of its deadline to file its summary judgment motion.

Plaintiff’s counsel has advised the undersigned that Plaintiff will only consent to a one-week

extension.   However, no prejudice will result from the additional two weeks Defendant is

requesting. Defendant, therefore, respectfully requests that the Court grant its motion for extension

of time.

Dated: July 19, 2019                          Respectfully submitted,

                                              JESSIE K. LIU, D.C. Bar # 472845
                                              United States Attorney for the District of Columbia

                                              DANIEL F. VAN HORN, D.C. Bar # 924092
                                              Chief, Civil Division

                                          By: /s/ Melanie D. Hendry
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